                           IN THE UNITED STATE DISTICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION
 LA UNION DEL PUEBLO ENTERO, et                   §
 al.,                                             §
                                                  §
      Plaintiffs,                                 §
                                                  § CIVIL ACTION NO. 5:21-CV-00844-XR
 v.                                               § (Consolidated Case)
                                                  §
                                                  §
 GREGORY W. ABBOTT, et al.,                       §
                                                  §
      Defendants.                                 §
                                                  §

                      DEFENDANT KIM OGG’S MOTION TO DISMISS

        Defendant Kim Ogg, in her capacity as Harris County District Attorney (“Ogg”), files this

motion to dismiss all claims bought against her in any of the matters consolidated by the Court

under Civil Action No. 5:21-CV-00844-XR, 1 pursuant to Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6).

        As the Court is aware, Plaintiffs in the consolidated cases (“Plaintiffs”) challenge the

constitutionality of various provisions of the Texas Election Code enacted through legislation

passed in a 2021 special session of the Texas Legislature. Some but not all of the challenged

provisions include, as part of the legislation and resulting amendments to the Texas Election Code,

enactment of criminal offenses and misdemeanor or felony punishment provisions.

        Ogg was not a party to these consolidated cases when they started in September 2021. Doc.

No. 1. Plaintiffs only added Ogg as a defendant in January 2022, ostensibly in light of a decision



        1
         As of the date of the filing of this motion, Ogg had been served only in the matters filed under
original cause numbers 1:21-CV-0780, 5:21-CV-0848, and 1:21-CV-0786. Given that these matters have
been consolidated, Ogg’s motion applies to all claims made against her by any and all Plaintiffs in any of
the consolidated matters.


63620613.v2
issued by the Texas Court of Criminal Appeals in December 2021, State v. Stephens, No. PD-

1032-20, 2021 WL 5917198 (Tex. Crim. App. Dec. 15, 2021). E.g., Doc. 200 at 18. The Court

of Criminal Appeals held in Stephens that a Texas Election Code provision that vested original

prosecutorial authority in the Texas Attorney General violated the Texas Constitution’s separation

of powers provision. Stephens, 2021 WL 5917198, at *5-11. None of the second amended

complaints filed in January 2022 contain any allegation of any actual or threatened enforcement

of any of the challenged provisions by Ogg—much less actual or threatened enforcement of any

criminal (as opposed to civil or administrative) provisions for which Ogg would have hypothetical

prosecutorial jurisdiction.

        Plaintiffs in these consolidated amended complaints appear to seek varying forms of

declaratory and injunctive relief against Ogg. 2 Some Plaintiffs seek a general declaration that “the

State of Texas’s statutory scheme as described with specificity therein” is unconstitutional, and

general injunctive relief as to “prosecuting any individual pursuant to the criminal offenses defined

in these provisions, if any.” Doc. 200 at 75-76. Other Plaintiffs seek declarations as to specifically

cited sections of the Election Code as enacted through S.B. 1—regardless of whether they contain

criminal penalties—and to enjoin “Defendants” (presumably including Ogg) from enforcing any

of the provisions. Doc. 207 at 62.

        Given the lack of clarity in the consolidated cases—as to which Plaintiff is suing Ogg over

what newly-enacted provisions of the Texas Election Code—this motion to dismiss addresses the



        2
          Plaintiffs appear to differ with respect to which provisions of the Election Code as enacted through
S.B. 1 they seek to challenge through their claims against Ogg. See Doc. 199 at ¶77 (alleging generally,
without identification of specific provisions, that Ogg “is charged with enforcing Texas’s Election Code,
including the new statutory provisions that place undue burdens on voters of color and that govern the
activities of poll watchers as described in more detail below”); Doc. 200 at ¶48 (appearing to challenge
only certain provisions under S.B. 1 Sections 6.04, 6.06, and 7.04); Doc. 207 at ¶33 (“the provisions of SB
1 challenged in this action that impose criminal penalties, including, SB 1 §§ 4.06, 4.09, 6.04, and 7.04”).

                                                      2
63620613.v2
ability of any of the Plaintiffs to bring claims for declaratory and/or injunctive relief (and attendant

claims for attorneys’ fees and costs) against Ogg for any or all of the relief sought against anyone

or any entity named as a defendant.

        Any and all such claims against Ogg fail as a matter of law, for three reasons.

        First, with respect to any claim by any Plaintiff against Ogg, the Eleventh Amendment bars

any and all such claims. Plaintiffs’ allegations do not provide any basis whatsoever to assert, with

respect to Ogg, the Ex parte Young exception to the Eleventh Amendment’s general rule

precluding suits against state officials in their official capacities, nor could Plaintiffs make any

such proper allegations.

        Second, even if Plaintiffs had properly pled their way around the Eleventh Amendment—

which they have not and cannot—Plaintiffs have not asserted a proper basis for Article III standing

with respect to any such claims against Ogg. Plaintiffs have not and cannot plead—much less

establish once their standing is challenged, which it is here—a real and immediate threat of

prosecution by Ogg under any of the challenged provisions.

        Third, to the extent that Plaintiffs could ever establish that the Court has jurisdiction to

consider Plaintiffs’ claims against Ogg—which Plaintiffs have not and cannot—Plaintiffs could

never frame a proper, non-sanctionable basis for a claim for injunctive relief against Ogg. This is

true with respect to any provision of the Texas Election Code that involves only civil or

administrative matters. Ogg does not run or oversee elections or administrative aspects of the

elections process in Harris County. She does not have statutory or other authority to bring any

civil matter, much less any civil enforcement action, on behalf of the State of Texas or Harris

County. Any and all authority over civil or administrative matters related to elections resides with

other state or county actors, such as the Harris County Attorney. Even if Plaintiffs could establish



                                                   3
63620613.v2
the Court’s jurisdiction to hear claims against Ogg, Plaintiffs’ loosely pled claims against Ogg

seeking declaratory or injunctive relief as to civil or administrative provisions would be subject to

12(b)(6) dismissal on this basis alone. Furthermore, even as to challenged provisions of the

Election Code that do include criminal offenses, Plaintiffs fail to allege actionable claims, as they

have not made specific claims against Ogg that could ever support the entry of an injunction.

        As with other district attorneys in the State of Texas, Ogg cannot be used—and for reasons

of both judicial and governmental restraint and economy should not be used—as a litigation effigy

every time the Texas Legislature passes a law that displeases a political action or advocacy group.

Suing a district attorney to declare a law unconstitutional or to prevent its enforcement requires

more, as the law provides. Sovereign immunity and standing principles matter, in every case,

regardless of the subject matter of the underlying claim. The Court can and should dismiss all

claims raised against Ogg in these consolidated cases under Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6).

                            MOTION TO DISMISS STANDARDS

        This Court is well aware that Federal Rule of Civil Procedure 12(b)(1) allows “for

dismissal of a complaint based on the absence of subject matter jurisdiction.” Dumas v. TDCJ,

No. SA-21-cv-492-XR, 2022 WL 488151, at *2 (W.D. Tex. Feb. 16, 2022) (citing Ramming v.

United States, 281 F.3d 158, 161 (5th Cir. 2001)). When a court evaluates subject matter

jurisdiction, it may consider “(1) the complaint alone; (2) the complaint supplemented by

undisputed facts evidenced in the record; or (3) the complaint supplemented by undisputed facts

plus the court’s resolution of disputed facts.” Id. (citing Ramming, 281 F.3d at 161). This standard

applies to the Court’s consideration of whether the Eleventh Amendment prevents Plaintiffs from

establishing that the Court has subject matter jurisdiction over their claims against Ogg.



                                                 4
63620613.v2
        Because standing is also necessary for subject matter jurisdiction, standing “is a threshold

issue that [the court] consider[s] before examining the merits” of a claim. Williams v. Parker, 843

F.3d 617, 620 (5th Cir. 2016). To establish standing, plaintiffs “must show (1) that they suffered

an injury in fact, which is a concrete and particularized invasion of a legally protected interest; (2)

that the injury is traceable to the challenged action of the defendant; and (3) it is likely, rather than

merely speculative, the injury will be redressed by a particular decision.” Id. (cleaned up). Any

alleged “injuries in fact must be ‘fairly traceable to the actions of the defendant.’” Id. (quoting

Bennett v. Spear, 520 U.S. 154, 162 (1997)). “‘The triad of injury in fact, causation, and

redressability constitutes the core of Article III’s case-or-controversy requirement, and the party

invoking federal jurisdiction bears the burden of establishing its existence.’” Id. (quoting Steel

Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103-04 (1998)). “If the party invoking federal

jurisdiction fails to establish any one of injury in fact, causation, or redressability, then federal

courts cannot hear the suit.” Id. (citing Rivera v. Wyeth-Ayerst Labs., 283 F.3d at 315, 319 (5th

Cir. 2002)).

        A plaintiff constantly bears the burden of proof that jurisdiction exists when jurisdictional

facts are controverted. Hoyt v. City of El Paso, 878 F. Supp.2d 721, 726 (W.D. Tex. 2012) (citing

Barrera–Montenegro v. USA and Drug Enforcement Admin., 74 F.3d 657, 659 (5th Cir. 1996)).

        As the Court is also well aware, a pleading must contain a short and plain statement of the

claim showing that the pleader is entitled to relief. FED. R. CIV. P. 8(a)(2). This pleading standard

does not require “detailed factual allegations, but it demands more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The

plaintiff’s legal conclusions are not entitled to the same deference and assumptions as his well

pleaded facts; ‘[t]hreadbare recitals of the elements of a cause of action, supported by mere



                                                   5
63620613.v2
conclusory statements, do not suffice.’” Dumas, 2022 WL 488151, at *2 (quoting Iqbal, 556 U.S.

at 678). Determining whether the plaintiff has met the pleading standard requires the reviewing

court to draw on its judicial experience and common sense. Turner v. Pleasant, 663 F.3d 770, 775

(5th Cir. 2011).

                                           ARGUMENT

    I.        Ogg is entitled to Eleventh Amendment sovereign immunity because the Ex parte
              Young exception does not apply.

         As a district attorney, Ogg occupies a constitutionally established position within the

Judicial Department of the State of Texas. TEX. CONST. art. V, sec. 21. As authorized by the

Texas Constitution, the Texas Legislature has defined Ogg’s jurisdiction as representing the State

of Texas in criminal cases pending in the district and inferior courts of Harris County. TEX. GOV’T

CODE § 43.180(b). By statute she “has all the powers, duties and privileges in Harris County

relating to criminal matters for and in behalf of the state that are conferred on district attorneys in

the various counties and districts.” Id. § 43.180(c).

         As a State of Texas official, Ogg is generally entitled to sovereign immunity from suit.

State sovereign immunity generally precludes suits against state officials in their official

capacities. E.g., Tex. Democratic Party v. Abbott, 961 F.3d 389, 400 (5th Cir. 2020) (hereinafter

“Tex. Democratic Party I”). Unless waived by the state, abrogated by Congress, or an exception

applies, the immunity precludes suit. Tex. Democratic Party v. Abbott, 978 F.3d 168, 179 (5th

Cir. 2020) (hereinafter “Tex. Democratic Party II”).

         There is no allegation (nor could there be) that Ogg has somehow waived sovereign

immunity for claims brought by Plaintiffs, or that Congress has abrogated immunity from these

claims. Plaintiffs will undoubtedly attempt to resort to the Ex parte Young exception to sovereign

immunity, but that exception does not and cannot apply based on the allegations made by Plaintiffs.


                                                  6
63620613.v2
        In Ex parte Young, 209 U.S. 123 (1908), the United States Supreme Court recognized that

sovereign immunity does not bar “suits for prospective injunctive relief against state officials

acting in violation of federal law.” Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 437 (2004).

Under Ex parte Young, “individuals who, as officers of the state, are clothed with some duty in

regard to the enforcement of the laws of the state, and who threaten and are about to commence

proceedings, either of a civil or criminal nature, to enforce against parties affected an

unconstitutional act, violating the Federal Constitution, may be enjoined by a Federal court of

equity from such action.” Ex parte Young, 209 U.S. at 155-56 (emphasis added).

        As has been made clear by the progeny of Ex parte Young, to avoid the Eleventh

Amendment immunity bar, state officials must “have ‘some connection’ to the state law’s

enforcement.” Air Evac EMS, Inc. v. Tex. Dep’t of Ins., 851 F.3d 507, 517 (5th Cir. 2017) (quoting

Ex parte Young, 209 U.S. at 157). A merely hypothetical or theoretical connection is not enough;

the complaint must allege an ongoing violation of federal law and seek relief properly

characterized as prospective. Verizon Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 646 (2002).

To fit within the Ex parte Young exception to state sovereign immunity, it is not enough to allege

that the defendant official has a “general duty to see that the laws of the state are implemented.”

Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014). A mere connection by statute or otherwise

to a law’s potential enforcement is not sufficient. The state official “must have taken some step to

enforce” the statute. Tex. Democratic Party I, 961 F.3d at 401 (emphasis added). The Fifth Circuit

has repeatedly held that this requires a plaintiff to plead and sufficiently demonstrate that the state

official took some “affirmative action” regarding enforcement of the challenged statute, such that

the official has “a demonstrated willingness to enforce that duty.” See id. at 400 (“some step” and




                                                  7
63620613.v2
“affirmative action”); Morris, 739 F.3d at 746 (“demonstrated willingness”); Tex. Democratic

Party II, 978 F.3d at 179 (same).

        The Fifth Circuit recently recognized guideposts in applying the “enforcement” aspect of

Ex parte Young. Specifically, the Fifth Circuit re-emphasized that “enforcement” includes a

showing of “compulsion or constraint.” Texas All. for Retired Americans. v. Scott, No. 20-40643,

2022 WL 795862, at *2 (5th Cir. March 16, 2022) (citing City of Austin v. Paxton, 943 F.3d 993,

1000 (5th Cir. 2019)). Accordingly, if there is no showing—as is the case here with respect to

Ogg—that the sued official has compelled or constrained anyone to obey the challenged law, there

is no standing to sue. This is because enjoining that official could not stop any ongoing

constitutional violation. Id.

        Even where a state official possesses enforcement authority, past Fifth Circuit decisions

consistently require some affirmative step by the defendant for the Ex parte Young exception to

apply. See City of Austin, 943 F.3d at 1000 (“Attorney General Paxton is not subject to the Ex

parte Young exception because our Young caselaw requires a higher showing of ‘enforcement’

than the City has proffered”); Air Evac EMS, 851 F.3d at 510-13 (noting that the state officials at

issue were actively involved in rate-setting and overseeing the arbitration processes implicated by

the challenged law); NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 392-95 (5th Cir. 2015) (Ex

parte Young exception applied when the attorney general had sent “numerous ‘threatening letters’”

to the plaintiffs); K.P. v. LeBlanc, 627 F.3d 115, 119-25 (5th Cir. 2010) (defendant took an “active

role” in enforcing the statute at issue).

        Collectively, Plaintiffs appear to challenge (among other provisions) nine provisions of the

S.B. 1 legislation that actually add criminal offenses to the Election Code and provide for criminal




                                                 8
63620613.v2
penalties. 3 Ogg, in her constitutional and statutory role as a prosecutor, indisputably has the

statutory authority within the boundaries of Harris County to prosecute cases under any and all

Texas statutes that set out criminal offenses, including criminal offense provisions of the Election

Code. But that type of general jurisdiction to enforce criminal laws does not establish a waiver or

exception to sovereign immunity in the absence of actual or threatened enforcement of a criminal

statute. Granting a proper injunction against a district attorney requires more than general and

hypothetical jurisdiction over criminal statutes. See, e.g., Miller v. Mitchell, 598 F. 3d 139 (3d

Cir. 2010) (affirming the grant of a preliminary injunction when a district attorney threatened to

file charges); Ameritech Corp. v. McCann, 297 F.3d 582 (7th Cir. 2002) (holding that Ex parte

Young was satisfied where a district attorney refused to comply with Electronic Communications

Privacy Act provision). A district attorney’s mere status as a district attorney, without more, is an

insufficient basis on which to make a proper claim to the Ex parte Young exception.

        There is nothing before the Court to suggest that Ogg has constrained or threatened to

constrain anyone concerning the challenged provisions. The complaints contain multiple

paragraphs about alleged testimony by officials of the Texas Attorney General’s Office concerning

the S.B. 1 legislation before it was passed, and actions taken, and statements made by that office

related to the Election Code and its enforcement. Those allegations are in those complaints for a

reason—presumably, at least in part, to support a claim by Plaintiffs to the Ex parte Young

exception to the Texas Attorney General’s Eleventh Amendment immunity from suit. The absence

of any similar allegations against Ogg—with respect to S.B. 1’s passage, the criminal provisions

at issue in Plaintiffs’ claims, or otherwise—is conspicuous. All that Plaintiffs plead regarding


        3
         Newly-enacted Texas Election Code sections 33.051(g), 33.061, 86.006(f), 86.010(f), 276.004(a),
276.015(b)-(d), 276.016(a), 276.017(a), and 276.018(a) appear to contain language creating criminal
offenses, as enacted through S.B. 1.


                                                   9
63620613.v2
Ogg’s involvement in anything to do with the facts or circumstances underlying their claims is as

follows:

        With respect to the consolidated Houston Justice, et al. Second Amended Complaint

(Doc.199):




                                               10
63620613.v2
        With respect to the OCA-Greater Houston et al. Second Amended Complaint (Doc. 200):




                                             11
63620613.v2
              12
63620613.v2
        Finally, with respect to the LULAC Texas, et al. Second Amended Complaint (Doc. 207):


                                             13
63620613.v2
Over the three consolidated cases in which Ogg is named, this is it in terms of allegations related

to Ogg’s claimed involvement in any of the facts or circumstances that are alleged as having given

rise to this litigation. As a matter of law, the above is not enough. Without any factual allegation

that Ogg has demonstrated her intent to enforce any challenged provisions that she would have

jurisdiction to enforce, the Plaintiffs cannot satisfy the Ex parte Young exception under Fifth

Circuit precedent. Accordingly, sovereign immunity precludes the Plaintiffs’ claims against Ogg.

        This is not merely an academic or “artful pleadings” point. As the Court is aware in the

Longoria case, a matter challenging the constitutionality of Texas Election Code § 276.016(a)(1),

Ogg entered into a non-participating-defendant “non-enforcement” stipulation, under which she

agreed not to enforce the challenged statute while the matter was being litigated, including in this

Court. Similarly, in this litigation, Ogg through the undersigned counsel offered to Plaintiffs to

enter into an identical stipulation as to the Election Code provisions at issue in these consolidated

cases. A copy of the proposed stipulation is attached as Exhibit A. Some of the Plaintiffs to

whom the stipulation was proposed declined to enter into it. The fact that Ogg was willing to offer

to stipulate to non-enforcement—and thus avoid the expense and distraction of civil litigation over

provisions that she was not enforcing and would agree not to enforce during the pendency of the

lawsuit—helps prove the point. Plaintiffs cannot plead, much less establish, any actual or




                                                 14
63620613.v2
threatened enforcement of the provisions of the Election Code, over which they sue Ogg, in a

manner that would allow them to claim the Ex parte Young exception to sovereign immunity. 4

        Plaintiffs have not alleged anywhere in their hundreds of pages of collective and

consolidated complaints—as they cannot, consistent with Rule 11 requirements and the specificity

requirements of federal pleading standards—that Ogg has commenced or has threatened to

commence any criminal proceedings against any of Plaintiffs, or anyone else for that matter, under

the Texas Election Code provisions challenged in the lawsuits. And to the extent that any of

Plaintiffs seek declaratory or injunctive or other relief against Ogg with respect to newly-enacted

Texas Election Code provisions that do not create any criminal offense, the Ex parte Young

analysis is similarly straightforward. By law, Ogg has criminal jurisdiction only. Authority for

civil matters on behalf of the State at the Harris County level rests with the Harris County Attorney.

TEX. GOV’T CODE § 45.201. As Ogg has no authority to enforce the other provisions challenged

by the Plaintiffs, such additional claims are irrelevant to the Court’s analysis of this motion to

dismiss. E.g., Lewis v. Scott, No. 20-50654, 2022 WL 795861, at * (5th Cir. Mar. 16, 2022)

(“Where a state actor or agency is statutorily tasked with enforcing the challenged law and a

different official is the named defendant, [the Ex parte] Young analysis ends.”) (citing City of




        4
          In filing this motion, Ogg is mindful of the fact that in Longoria v. Paxton, No. SA:21-CV-1223-
XR, 2022 WL 447573 (W.D. Tex. Feb. 11, 2022)—a case in which Ogg is a non-participating defendant—
the Court held that an allegation that “the district attorneys are responsible for investigating and prosecuting
violations of the Election Code” was sufficient to state “some connection” to enforcement of that law so as
to meet the Ex parte Young exception. As the Court is aware, an appeal from the Court’s injunction order
in Longoria is pending before the Fifth Circuit Court of Appeals, which has since certified to the Texas
Supreme Court issues of Texas law to be considered as part of that appeal. See Longoria v. Paxton, No.
22-50110, 2022 WL 832239 (5th Cir. Mar. 21, 2022). Ogg respectfully contends that the Court should not
reach the same conclusion on the application of Ex parte Young to the claims against Ogg in these
consolidated cases as it did in Longoria, in light of the absence of anything more than allegations of Ogg’s
“general duty to see that the laws of the state are implemented” in Harris County. Morris, 739 F.3d at 746
(cited in Longoria order) (“some connection” requires establishing “the particular duty to enforce the status
in question and a demonstrated willingness to exercise that duty”).

                                                      15
63620613.v2
Austin, 943 F.3d at 998 (holding that the Texas Secretary of State is entitled to sovereign immunity

when local election officials, not the Secretary, are charged with enforcing provisions of the Texas

Election Code).

         The Ex parte Young exception to sovereign immunity does not apply to Plaintiffs’

allegations against Ogg, whether they relate to newly-enacted criminal offense provisions or not.

   II.        Plaintiffs lack standing to sue Ogg because they have not suffered any injury-in-
              fact from any conduct by Ogg.
         Even if Plaintiffs had included in their complaints allegations that would provide a proper

basis for asserting the Ex parte Young exception to Ogg’s Eleventh Amendment immunity—which

they have not—Plaintiffs would not have standing to sue Ogg.

         To establish standing under Article III of the Constitution, a plaintiff must demonstrate (1)

that he or she suffered an injury in fact that is concrete, particularized, and actual or imminent, (2)

that the defendant caused the injury, and (3) that the requested judicial relief would likely redress

the injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). The injury in fact element

requires that a plaintiff show that he or she “has sustained or is immediately in danger of sustaining

some direct injury as the result of the challenged official conduct and the injury or threat of injury

must be both real and immediate, not conjectural or hypothetical.” City of Los Angeles v. Lyons,

461 U.S. 95, 102 (1983).

         A “plaintiff can meet the standing requirements when suit is brought under the Declaratory

Judgment Act, 28 U.S.C. §§ 2201–02, by establishing actual present harm or a significant

possibility of future harm.” Bauer v. Texas, 341 F.3d 352, 357–58 (5th Cir. 2003). In Roark &

Hardee LP v. City of Austin, 522 F.3d 533 (5th Cir. 2008), bar-owner plaintiffs sought declaratory

and injunctive relief relating to the enforcement of an Austin ordinance prohibiting smoking in

enclosed public places. The plaintiffs alleged that the ordinance was unconstitutionally vague and


                                                  16
63620613.v2
violated procedural due process. Roark, 522 F.3d at 539-40. The Fifth Circuit found that the

plaintiffs faced real and immediate threats of injuries resulting from violation of the ordinance

because “some plaintiff bar owners have been charged under the ordinance and all plaintiff bar

owners face the real potential of immediate criminal prosecution.” Id. at 543.

        Plaintiffs challenge two types of criminal provisions in the Election Code: (1) provisions

imposing criminal penalties against election officials, and (2) provisions imposing criminal

penalties against any member of the public. First, many of the Plaintiffs here cannot be the subject

of criminal prosecution for many of the challenged criminal provisions because those provisions

apply only to election officials. See TEX. ELEC. CODE §§ 33.051(g), 33.061, 276.016, and 276.017

(all imposing criminal penalties for violations by “public officials” or “election officials”).

Second, even for the Plaintiffs that do serve in official election-related capacities, unlike the case

in Roark, these Plaintiffs have not alleged that they have been targeted or that others similarly

situated to them have faced penalties under the criminal statutes.

        Additionally, Plaintiffs have not and cannot allege any injury or harm arising out of the

challenged criminal provisions that generally apply to the public. For example, Plaintiffs have not

alleged that they intend to harvest votes in violation of Sections 86.006 and 276.015; that they

intend to violate the requirements for assisting voters under Section 86.010; that they intend to

prevent employees from voting during work hours in contravention of Section 276.004; or that

they knowingly made or plan to make false statements in an oath or on a voter registration

application in violation of Section 276.018. This only makes the Plaintiffs’ allegations even more

remote from any potential enforcement of the S.B. 1 criminal provisions—and certainly by Ogg

in Harris County—because none of Plaintiffs has demonstrated any intent to engage in conduct

that could contravene any of the challenged laws.



                                                 17
63620613.v2
        With respect to the provisions of S.B. 1 that do not contain criminal offenses or penalties,

Plaintiffs’ allegations against Ogg also fail to satisfy the causation and redressability prongs of the

standing test.     Plaintiffs’ pleadings and their use of the generic, “group pleading” term

“Defendants” do not specify what claims related to what provisions of the Election Code added

through S.B. 1 are raised against Ogg as an individual defendant. The various pleadings are broad

enough to suggest that injunctive relief is sought against Ogg related to enforcement of any of the

challenged provisions, regardless of whether they contain any criminal offenses. 5 As set forth

above, Ogg as a matter of law, has no jurisdiction to enforce anything through a civil suit and her

statutory duties do not include administering elections.

        When a plaintiff names a defendant in the hope of obtaining injunctive relief against her

but does not sufficiently allege that the defendant could take the action sought to be enjoined,

dismissal for lack of standing is proper for two reasons. See Okpalobi v. Foster, 244 F.3d 405, 425

(5th Cir. 2001) (en banc). First, Plaintiffs’ alleged injury here “is not, and cannot possible be,

caused by the defendant[],” because Ogg cannot and will not pursue any civil or administrative

enforcement action against anyone. See id. at 426. Second, any alleged injury would not be

redressable by Ogg, because Ogg “cannot prevent” the people who could potentially enforce those


        5
         An action recently taken by certain Plaintiffs, prior to the filing of this motion, further
demonstrates and underlines why Ogg should not be used as a “litigation effigy” and have her constitutional
and statutory exercise of duties burdened by lawsuits under these circumstances. Even before the filing of
this motion, certain Plaintiffs (in the LULAC Texas, et al. consolidated matter) served a deposition notice
on “Kim Ogg.” A copy of the deposition notice is attached as Exhibit B. Although it is not clear from the
subpoena whether Plaintiffs who served it are seeking testimony from Kim Ogg as an individual or instead
testimony from her office under a FED. R. CIV. P. 30(b)(6) request, the subpoena lists two topics, and two
topics only. Both topics listed in the deposition notice relate not to S.B. 1 or any of its criminal offense
provisions, but instead to S.B. 1111, a bill passed in the last regular session of the Texas Legislature that
includes no criminal provisions whatsoever. Eleventh Amendment and standing principles serve an
important purpose in having state governmental actors avoid having to defend against claims to which they
cannot be named as parties and against attendant meritless discovery. Unless the Plaintiffs who served the
deposition notice withdraw it, Ogg will be forced to defend against the discovery request through a motion
to quash.


                                                     18
63620613.v2
civil and administrative provisions from doing so in the future. See id. An injunction prohibiting

Ogg, a district attorney, from bringing civil or administrative enforcement actions would be

“utterly meaningless.” Id. Seeking to enjoin a state official from doing something that she has no

ability to do is an improper claim that can and should be dismissed. Id.

           As it currently stands, any injury alleged in the Plaintiffs’ complaints is purely conjectural

and hypothetical. To the extent those injuries relate to non-criminal statutory provisions, they

cannot be caused by or redressed by Ogg. Accordingly, the Plaintiffs do not have standing to sue

Ogg. 6

    III.       With respect to any claim for injunctive relief against Ogg, Plaintiffs fail to state
               a claim upon which relief can be granted.

           Even if Plaintiffs could allege a proper basis for jurisdiction in this Court—which for the

two reasons set out above they cannot—Plaintiffs’ complaints do not contain sufficient factual

matter to state a claim against Ogg that is plausible on its face.

           Even as to the challenged provisions that contain criminal penalties, Plaintiffs’ allegations

do not state a plausible claim. As indicated above in the briefing on Eleventh Amendment

immunity from suit, Plaintiffs have wholly failed to allege any enforcement or threatened

enforcement by Ogg of any of the provisions over which they sue. They do not even allege that

any conduct under any of the challenged provisions has even been examined or inquired about by


           6
         Again, in filing this motion, Ogg is mindful of the fact that in Longoria the Court found that two
persons the Court held to be “election officials” had standing to pursue First Amendment claims related to
a specific portion of the Election Code, section 276.016(a)(1), that contained criminal penalties. Without
commenting on matters that may be the subject of the pending appeal and certified questions, the record
before the Court in Longoria is different from the record in these consolidated cases. Unlike the Plaintiffs
here, the Longoria plaintiffs asserted that the anti-solicitation provisions deterred them from engaging, as
they had done in the past, in certain forms of voter outreach that they claim are now prohibited under the
Election Code, including the explicit promotion of mail-in voting to community groups. The Plaintiffs here
have not alleged any specific protected behavior in Harris County that they are chilled from engaging in
due to fear of prosecution from Ogg under the challenged criminal provisions.


                                                    19
63620613.v2
any law enforcement agency in any criminal investigation that might ultimately find its way to the

Harris County District Attorney’s Office for consideration of prosecution. See Quinn v. Roach,

326 Fed. App’x 280, 293 (5th Cir. 2009) (affirming the grant of a 12(b)(6) motion to dismiss on a

plaintiff’s claim for injunctive relief against a district attorney where the plaintiff failed to allege

a likelihood of a future violation of his rights).

        When assessing a motion to dismiss under Rule 12(b)(6), the facts pleaded are entitled to

a presumption of truth, but legal conclusions that lack factual support are not entitled to the same

presumption. Iqbal, 556 U.S. at 678. The plausibility threshold required under Rule 12(b)(6) is

surpassed only when “a plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. Without any allegations that

Ogg is somehow acting, or even planning to act, in violation of the United States Constitution by

prosecuting or threatening to prosecute any criminal cases under the challenged provisions, there

is no claim properly pled against Ogg. Thus, even if the Court had jurisdiction to consider the

claims against Ogg—which it does not—Plaintiffs have failed to state a claim for injunctive relief

against Ogg upon which the Court could grant relief.

                                      PRAYER FOR RELIEF

        For the foregoing reasons, Defendant Kim Ogg, sued in her official capacity as Harris

County District Attorney, respectfully requests that the Court dismiss all claims and causes of

action that have been asserted against her in this action pursuant to Rule 12(b)(1) and Rule 12(b)(6)

for the reasons stated herein, and prays for such other and further relief to which she may be justly

entitled.




                                                     20
63620613.v2
                                                  Respectfully submitted,


                                                 BUTLER SNOW LLP


                                                 By: /s/ Eric J.R. Nichols
                                                  Eric J.R. Nichols
                                                  State Bar No. 14994900
                                                  eric.nichols@butlersnow.com
                                                  Karson K. Thompson
                                                  State Bar No. 24083966
                                                  karson.thompson@butlersnow.com
                                                  1400 Lavaca Street, Suite 1000
                                                  Austin, Texas 78701
                                                  Tel: (737) 802-1800
                                                  Fax: (737) 802-1801

                                                  ATTORNEYS FOR DEFENDANT
                                                  KIM OGG, IN HER OFFICIAL
                                                  CAPACITY AS HARRIS COUNTY
                                                  DISTRICT ATTORNEY


                             CERTIFICATE OF SERVICE


       I hereby certify that on March 29, 2022, a true and correct copy of the foregoing
document was served on all counsel of record by filing with the Court’s CM/ECF system.

                                                 /s/ Eric J.R. Nichols
                                                 Eric J.R. Nichols




                                           21
63620613.v2
